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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

               v.                                    Case No. 1:19-cr-0125 (ABJ)

GREGORY B. CRAIG,

                     Defendant.


                     DEFENDANT’S MOTION IN LIMINE TO EXCLUDE
                    EVIDENCE RELATED TO PAYMENTS TO SKADDEN

       In connection with its work investigating and preparing its independent report on the

Tymoshenko trial, Skadden’s attorneys and paralegals spent nearly 6,500 hours, totaling

approximately $4 million in fees. The firm also incurred nearly $650,000 in expenses, including

hundreds of thousands of dollars in translation and interpretation fees. The bulk of those fees and

expenses ($4.15 million) was paid by Victor Pinchuk, a prominent and progressive Ukrainian

businessman. The rest ($507,568) was paid by Ukraine’s Ministry of Justice (“MOJ”).

       Although a trial in this case, if there is one, will be about whether Mr. Craig knowingly

and willfully concealed from the Department of Justice material facts concerning whether he and

his firm were required to register as agents of Ukraine’s Ministry of Justice, the government

apparently intends to elicit evidence related to how Skadden was paid for its services. None of

that evidence is relevant to any fact “of consequence in determining th[is] action,” Fed. R. Evid.

401(b). We do not intend to object to evidence concerning the amount of the fees, and the

amount paid by each payor. However, the government has indicated that it intends to offer into

evidence the voluminous correspondence related to the MOJ’s payment of its portion of the fees

and expenses, thereby inviting a separate mini-trial on issues related to those fees. Such a
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diversion will confuse the issues and mislead the jury, and create a significant and undue waste

of time and unfair prejudice. Mr. Craig hereby moves in limine to preclude the admission of

evidence concerning the fees paid to Skadden by the MOJ.

I.     BACKGROUND

       When Doug Schoen first approached Skadden, on behalf of Victor Pinchuk, about

conducting an independent investigation into the prosecution of Ms. Tymoshenko, Mr. Craig was

intrigued. He knew a great deal about the region from his high-level foreign policy positions,

including as Secretary of State Madelaine Albright’s Director of Policy Planning, and as Senator

Edward M. Kennedy’s senior advisor on defense, foreign policy and national security issues. He

also understood, after learning more about the scope of the investigation of Ms. Tymoshenko, the

length of her trial (more than three months), and the need to review original documents and

conduct many interviews on the ground in Ukraine, that the assignment would be extensive and

expensive. After receiving $150,000 to cover the firm’s initial trip to Kyiv and evaluation of the

engagement, Mr. Craig estimated a budget of $4 million, which Mr. Craig was told was

acceptable to Mr. Pinchuk, and which Skadden received in three installments, between April and

July 2012.

       By July, however, it had become apparent that those funds would be exhausted before

Skadden was able to complete the Report. Mr. Craig emailed his colleague Cliff Sloan on July

27, noting that by the end of the month, nearly 90 percent of the funding from Mr. Pinchuk

would be exhausted. Ex. 1. By that point, although the bulk of the investigation was done, the

team of attorneys and paralegals still had many hours of work ahead before the report would be

finalized. The team also was in the midst of attempting to arrange another interview of Ms.

Tymoshenko herself, which would have required another group of attorneys to travel to Kyiv, as

well as the expenses for interpretation, translation, travel and lodging that such a trip would
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require. See, e.g., Ex. 2. In addition, the MOJ continued to send requests for revisions to the

Report, and although Skadden rebuffed any comments that the firm did not independently verify

and agree with, responding to those comments frequently required translation and group

meetings among the attorneys working on the report and were yet another source of anticipated

time and expenses.

       Thus, Mr. Craig explained to Mr. Schoen (Mr. Pinchuk’s representative), and Mr.

Manafort (Ukraine’s representative), that Skadden would need an additional deposit of $1

million to ensure full funding through the completion of the engagement, committing to

returning any of the funds that were not used. Mr. Schoen reported that Mr. Pinchuk’s “answer”

to whether he would contribute additional funding was a “firm and unqualified ‘No.’” Ex. 3.1

Mr. Manafort then confirmed that the Ukrainian government would contribute additional funds

to cover the shortfall. In a series of emails, Mr. Manafort laid out the instructions from Serhiy

Lyovochkin, President Yanukovych’s chief of staff, about the steps that would be needed to

satisfy Ukraine’s elaborate and confusing procurement process for authorizing the payment as



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  The government has completely misread this email. The indictment alleges that the “answer”
from “Schoen/Pinchuk” related to “whether [Mr. Pinchuk’s] identity and role could be
disclosed” as the private party funding the report. See Indictment ¶ 26. In fact the “answer” was a
response to the question whether Mr. Pinchuk would be willing to contribute additional funding
in light of the anticipated shortfall. The string begins with Mr. Manafort asking Mr. Craig on
August 15, “Any news from Schoen? I need to get back to SL [Serhiy Lyovochkin] if we are
pursuing his approach.” Ex. 3. As reflected in the subsequent emails in the chain, the “approach”
from Mr. Lyovochkin refers to the way MOJ would fund the report, if funding from MOJ was
necessary. Mr. Craig had been trying to reach Mr. Schoen for several days to determine if Mr.
Pinchuk was willing to provide the additional funding – which would have obviated the need to
“pursu[e] [Lyovochkin’s] approach.” See Ex. 4. Mr. Manafort wrote again, “[d]id you reach
Schoen? Kyiv wants to move ASAP and is pressing me for an answer.” Ex. 5. After Mr. Craig
finally reached Mr. Schoen, Mr. Craig wrote to Mr. Manafort, “The answer from Schoen/
Pinchuk is a firm and unqualified ‘No.’ Can you put into a sentence how Ukraine wants to
handle this so I can clear it with the team?” Ex. 3. In context, therefore, that “answer” was to the
question whether Mr. Pinchuk would contribute additional funding – not whether he would
consent to disclosure of his identity as the funder of the project.
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part of the MOJ’s 2013 budget. See, e.g., Ex. 3 (email from Mr. Craig to Mr. Manafort on

August 15, requesting to “discuss . . . again what [Serhiy Lyovochkin] proposes”).

       The procurement procedure that was reflected in the August 2012 correspondence, and

that followed – which the government wishes to inject into this trial, as reflected in paragraphs

26 and 27 of the indictment – was elaborate and confusing. See, e.g., Ex. 6 (August 15, 2012

email from Mr. Manafort describing the “Procedure for Supplemental Payments” in “accordance

with the law of Ukraine,” as “sent to [Mr. Manafort] by MOJ”). Skadden provided the Ukrainian

representatives the documentation that Mr. Lyovochkin and Mr. Manafort explained was

necessary for purposes of Skadden’s compliance with Ukrainian budgetary processes. Ten

months later, in June 2013, after another intervening and protracted set of bureaucratic hurdles,

the MOJ transmitted the supplemental payment that it had agreed to pay the previous August:

$1,075,381. The additional funds were used to cover fees and expenses that Skadden had

incurred beyond what the Pinchuk funds had covered; the balance left after all remaining bills

had been paid, $567,813, was later returned to the Ukrainian government.

II.    ARGUMENT

       The government apparently seeks to offer evidence at trial related to the byzantine

process in August 2012 and the following months surrounding the MOJ’s approval of funding

Skadden’s shortfall. See Indictment ¶¶ 26-27. For the reasons set forth below, whether analyzed

under Rule 401, 403 or 404(b), this evidence should be excluded.

       A.      The MOJ Payment evidence is not probative of any fact of consequence.

       The government’s burden in this case will be to prove, among other things, that Mr. Craig

knowingly and willfully concealed material facts from the Department of Justice in two letters

and one meeting. The government will also apparently seek to prove that Mr. Craig not only was

required to register under the Foreign Agents Registration Act (FARA), but knew that he was
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required to register. See, e.g., Indictment ¶¶ 48-49 (alleging that Mr. Craig “knowingly and

willfully” concealed information for the “purpose” of “avoid[ing] registration as an agent of

Ukraine”). The circumstances of the payments to Skadden for its work are not relevant to any of

those issues.

       The government seems to have foreseen the need to justify its desire to inject into the

case the August 2012 correspondence related to the MOJ payment. Paragraph 27 of the

indictment ends with this: “A truthful and complete FARA registration by CRAIG would have

made a public record of [Mr. Pinchuk’s] role in funding the report, and the amounts he paid to

the Law Firm.” As an initial matter, the evidence shows that Mr. Craig and his colleagues

wanted to disclose Mr. Pinchuk’s name once a media report in Ukraine raised questions about

who was paying Skadden’s fees, but had agreed at the outset that so long as Skadden did not

have to register, Mr. Pinchuk’s financial contribution to the project would remain confidential.2

But even setting aside whether Mr. Craig preferred to disclose Mr. Pinchuk’s name, the matters

described in paragraphs 26 and 27, other than the first sentence (related to the fact that Mr.

Pinchuk would not contribute more funds, the admission of which we do not oppose), have

nothing to do with Mr. Pinchuk’s “role in funding the report, and the amounts he paid.” See

Indictment ¶ 27. Instead, they relate exclusively to the mechanism by which Mr. Craig was told

that the other payor for the Skadden report – the MOJ – would procure the additional funds

needed to cover the shortfall.

       That leaves only one theory set forth in the indictment for why the MOJ procurement

correspondence is relevant: that it somehow bears on Mr. Craig’s truthfulness. Paragraph 27



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  Obviously it is commonplace for lawyers to be compensated by someone other than the client;
only in unusual circumstances would the lawyer be required, or even permitted, to disclose such
client secrets to third parties. See, e.g., D.C. Rule Prof’l Conduct 1.6(a) & (b).
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describes two communications related to the procurement process as a “backdated letter” and a

“false invoice.” First, as a factual matter, those letters and the surrounding correspondence have

no probative value to Mr. Craig’s truthfulness – but demonstrating that will require a confusing

and wasteful mini-trial, as discussed below. See pp. 6-8, infra. Second, even if hypothetically the

letters were false or misleading – which they were not – the government would have to satisfy

the requirements of Rule 404(b), which it has not even attempted to do. The core allegation in

this case is that Mr. Craig’s written and oral statements to the FARA Unit were false and

misleading and concealed material facts. Evidence related to allegations that Mr. Craig made

false or misleading statements to someone else, i.e., the MOJ, can only be admissible if it tends

to prove “motive, opportunity, intent, preparation, plan, knowledge, identity, absence of mistake,

or lack of accident” with respect to the charged offense. Fed. R. Evid. 404(b)(2). Here the

government has not identified, and cannot identify, any permissible purpose to be served by

offering this evidence. Thus, the only purpose is to “prove a person’s character in order to show

that on a particular occasion the person acted in accordance with the character.” Fed. R. Evid.

404(b)(1).

       For these reasons, the evidence related to the means and mechanisms by which MOJ

provided additional funding for the project has no probative value.

       B.      Alternatively, the evidence should be excluded under Rule 403.

       Even if the government is able to articulate a theory of relevance, any probative value is

outweighed by dangers of confusion, delay and waste of time. As noted, the government

characterizes as a “false invoice” a letter from Mr. Craig to the Minister of Justice dated August

22, 2012. See Indictment ¶ 27. It is nothing of the sort – for reasons that would require hours of

testimony and dozens of additional documents to explain, because that letter was only a snippet

of a broader set of correspondence and conversations about the process for Ukraine to procure
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the additional funding. In brief, as noted above, on August 15 Mr. Schoen reported that his

client, Mr. Pinchuk, was unwilling to contribute additional funding to the completion of the

report. Mr. Craig then spoke with Mr. Manafort, who followed up with an email memorandum,

as “sent to [him] by MOJ,” describing the “procedure” that the Ministry of Justice had laid out as

necessary to comply with “the law of Ukraine ‘On State Purchases.’” Ex. 6. The MOJ in its

memorandum explained that the procedure it intended to follow “ha[d] been implemented

extensively during Euro-2012,” referring to the major European soccer tournament that Ukraine

and Poland had hosted the previous two months, June-July 2012. Id. Similarly, although the

government focuses on the fact that one aspect of the paperwork requested by MOJ was a letter

dated July 16 that Mr. Craig edited and sent sometime on or after August 23, see Indictment ¶

27.d, again that was a requirement that Mr. Craig was told was required under Ukraine

procedures “for administrative purposes.” Ex. 7. Throughout this process Mr. Craig was

following the directions he had received from his client, the Ukraine MOJ, along with the

Ukrainian president’s chief of staff, on precisely what documentation that government agency

required in order to pay the shortfall. See also Ex. 8. His participation in the process dictated by

Ukraine was an accommodation to a client, not an effort to deceive a client.

       Thus, insofar as the government seeks to rely on this evidence as relevant to Mr. Craig’s

truthfulness, the jury would also have to be educated about the entire context, including

Ukraine’s “State Purchases” law; the nature of the procurement procedure that MOJ used; and

each of the documents Skadden prepared to comply with MOJ’s requests so that it could comply

with Ukrainian law. Because the non-existent or de minimis probative value of this evidence is

outweighed by dangers of confusion, delay and waste of time, it should be excluded under Rule

403.


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III.   CONCLUSION

       For these reasons, the government should be precluded from presenting evidence related

to the circumstances and correspondence surrounding the process for arranging the MOJ’s

procurement of funding for a portion of Skadden’s fees and expenses.


Dated: June 24, 2019                              Respectfully submitted,


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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on June 24, 2019, the foregoing was served on counsel of

record via the Court’s CM/ECF Service.


                                               /s/ Ezra B. Marcus
                                               Ezra B. Marcus
